   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 1 of 16



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA         :
                                 :
     v.                          :     Crim. NO. 3:99cr264(AHN)
                                 :
QUINNE POWELL                    :
                                 :

                   RULING ON MOTION FOR NEW TRIAL

     On June 3, 2005, a jury convicted defendant Quinne Powell

("Powell") on eight counts: Count One, racketeering, in violation

of the Racketeer Influenced and Corrupt Organizations Act

("RICO"), 18 U.S.C. § 1962(c); Count Two, RICO conspiracy, in

violation of 18 U.S.C. § 1962(d); Counts Three, Four, and Six,

conspiracy to possess with intent to distribute and to distribute

cocaine base, in violation of 21 U.S.C. §§ 841(a)(1)(B) and

(b)(1)(A) and 21 U.S.C. § 846; and Counts Nine and Twelve,

Obstruction of Justice for witness tampering, in violation of 18

U.S.C. § 1512(b)(3); Count Thirteen, conspiracy to commit money

laundering, in violation of 18 U.S.C. § 1956(a)(1).           Following

his conviction, Powell filed the instant motion for a new trial

under Fed. R. Crim. P. 33.     The court held oral argument on the

motion on December 21, 2005, and orally denied the motion before

sentencing Powell.    This ruling provides a more detailed

explanation of the court’s decision to deny Powell’s motion.

                                STANDARD

     Under Fed. R. Crim. P. 33(a), this court "may vacate any

judgment and grant a new trial if the interest of justice so
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 2 of 16



requires."   Although this court has broad discretion in

considering a motion for a new trial, it should exercise its

authority under Rule 33 "sparingly" and in "the most

extraordinary circumstances."     United States v. Ferguson, 246

F.3d 129, 134 (2d Cir. 2001) (quoting United States v. Sanchez,

969 F.2d 1409, 1414 (2d Cir. 1992)).        In considering this motion,

the court must "defer to the jury’s resolution of conflicting

evidence and assessment of witness credibility," and, therefore,

"[i]t is only where exceptional circumstances can be demonstrated

that the trial judge may intrude upon the jury function of

credibility assessment." Id. at 133-34 (quoting Sanchez, 969 F.2d

at 1414).    "The ultimate test . . . is whether letting a guilty

verdict stand would be a manifest injustice."         Id. at 134.      There

must be a real concern that an innocent person may have been

convicted.   See id.   The defendant bears the burden of persuading

the court that a new trial is necessary and appropriate.            United

States v. Sasso, 59 F.3d 341, 350 (2d Cir. 1995).

                               DISCUSSION

     Powell contends that he is entitled to a new trial on four

different grounds.     First, he contends that he was prejudiced by

the court’s admission of physical evidence related to the P.T.

Barnum drug trafficking conspiracy ("the Barnum Conspiracy"), the

activities of Lonnie and Lance Jones ("the Jones Brothers"), and

the heroine seized by the New York Police Department in the Bronx


                                  -2-
   Case 3:99-cr-00264-VAB   Document 2087    Filed 09/07/06   Page 3 of 16



("the Bronx seizure").      Second, Powell maintains that the RICO

predicate of conspiracy to murder the Trumbull Gardens Terrace

gang members ("Terrace Crew members") is not supported by the

evidence and is inconsistent with the jury’s verdicts on other

counts.   Third, he argues that racketeering act 5 and his

conviction on count nine, which both involve obstructing justice

by tampering with a witness, are not supported by the evidence.

Finally, he contends that the government failed to prove at trial

that the cocaine seized was crack cocaine.         The government chose

not to brief the first three grounds Powell asserted, but did

challenge the fourth ground, arguing that it need not introduce

results of scientific tests to establish that the substance

seized was, in fact, crack cocaine.1        After reviewing these

arguments, the evidence adduced at trial, and the law, the court

concludes that none of Powell’s claims entitle him to a new trial

under Rule 33(a).




     1
        The government’s Memorandum of Law in Opposition to
Defendant Quinne Powell’s Motion for Judgment of Acquittal [dkt.
# 1986] makes no substantive arguments, but only refers the court
to the government’s memorandum [dkt. # 1974] regarding the motion
for acquittal, and alternatively a new trial, filed by Powell’s
co-defendant, Damon Walker. The government’s memorandum
regarding Walker, however, simply does not address the first
three grounds for acquittal cited by Powell.

                                   -3-
   Case 3:99-cr-00264-VAB    Document 2087   Filed 09/07/06   Page 4 of 16



     A.   Admission of Evidence of the Barnum Conspiracy, the

          Jones Brothers, and the Bronx Seizure

     Powell first argues that the court erred in admitting

evidence of the Barnum Conspiracy, the activities of the Jones

Brothers, and the Bronx seizure because "the government failed to

show any evidence of [a] nexus between Powell and these

defendants (and criminal activity)."         Powell summarily complains

that the court admitted "physical evidence from the Jones

[Brothers] (and the P.T. Barnum development) guns, bullet proof

vests, masks and other contraband items," and that this evidence

was "damaging and prejudicial."       Although the government offers

no response to Powell’s claims, the court nevertheless finds that

this evidence was properly admitted.

     Powell’s generalized objections to the admission of evidence

of the Barnum Conspiracy, the activities of the Jones Brothers,

and the Bronx seizure can be addressed together because Powell,

in essence, complains that he was prejudiced by the admission of

evidence relating to the activities of his alleged

coconspirators.   It is well-settled, however, that a defendant

need not join in every unlawful objective of a conspiracy for the

defendant to be considered a member of the conspiracy, as long as

the defendant shared "some knowledge of the conspiracy’s unlawful

aims and objectives."       United States v. Salameh, 152 F.3d 88, 147

(2d Cir. 1998)(citing United States v. Heinemann, 801 F.2d 86, 93


                                    -4-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 5 of 16



(2d Cir. 1986)).   "Once a conspiracy is shown to exist, the

evidence sufficient to link another defendant to it need not be

overwhelming." United States v. Casamento, 887 F.2d 1141, 1156

(2d Cir. 1989), cert. denied, 479 U.S. 1017, 107 S.Ct. 668, 93

L.Ed.2d 720 (1986).    "A lack of evidence connecting one defendant

with others does not preclude a determination that all the

defendants were coconspirators . . . so long as each defendant

knew from the scope of the operation that others were involved in

the performance of functions vital to the success of the

endeavor."   Id. at 1157-58.

     All of the evidence of which Powell complains involved his

alleged coconspirators.     The evidence of the Barnum Conspiracy

and the Bronx seizure involved Aaron Harris, who the government

alleged was Powell’s coconspirator in counts two, three,

thirteen, and racketeering acts 1-A, 1-C, 2-A, and 3.            The

evidence of the Bronx seizure also involved Kenneth Richardson,

who the government alleged was Powell’s coconspirator in counts

two and six.   Likewise, the government alleged that the Jones

Brothers were Powell’s coconspirators in count two and

racketeering act 1-C in count 1.      In addition, the government

alleged that Lance Jones was Powell coconspirator in count six.

Because these individuals were Powell’s alleged coconspirators,

the evidence of their activity was relevant and admissible under

Fed. R. Evid. 403 as proof of Powell’s involvement in the


                                  -5-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 6 of 16



conspiracies of which he was charged.       See Iannelli v. United

States, 420 U.S. 770, 777 n. 10, 95 S.Ct. 1284, 1289 n. 10, 43

L.Ed.2d 616 (1975) (stating that because a conspiracy is, by its

nature, clandestine, a conspiracy is often be proved by

circumstantial evidence).     Thus, it was appropriate for the jury

to consider this evidence in determining Powell’s guilt or

innocence with regard to the charged conspiracies.2

     Moreover, the jury’s verdict belies Powell’s claims of

prejudice.   After weighing the evidence of the drug-related

activities at the P.T. Barnum Housing Project in racketeering act

1-C, the jury found that the government failed to prove Powell’s



     2
        For example, as to racketeering act 1-C, the court
charged the jury that:
          [A] defendant need not have joined in all the
          conspiracy’s unlawful objectives. The extent
          of a defendant’s participation has no bearing
          on the issue of the defendant’s guilt.
          Indeed, each member may perform separate and
          distinct acts, and may have performed [them]
          at different times.    Some conspirators play
          major roles, others play minor parts in the
          scheme.   An equal role is not what the law
          requires.
In addition, the court’s charge with regard to the conspiracies
stated that:
          Further, when people enter into a conspiracy
          to accomplish an unlawful end, they become
          agents or partners of one another in carrying
          out   the   conspiracy.      Accordingly,   in
          determining the factual issues before . . .
          you, you may consider as evidence against the
          defendant . . . any acts or statements made by
          any of his co-conspirators, even though such
          acts or statements were not made in his
          presence, or were made without his knowledge.

                                  -6-
   Case 3:99-cr-00264-VAB    Document 2087    Filed 09/07/06   Page 7 of 16



involvement in the Barnum Conspiracy.          This verdict demonstrates

that the jury distinguished between the activities of Powell and

those of his alleged coconspirators.          Therefore, the court finds

that the admission of evidence of the Barnum Conspiracy, the

activities of the Jones Brothers, and the Bronx seizure was not a

"manifest injustice," see Ferguson, 246 F.3d at 134, and declines

to order a new trial.

     B.   Sufficiency of Evidence for Conspiracy to Murder the

          Terrace Crew Members

     Powell next argues that the court should vacate the jury’s

verdict finding him guilty of racketeering act 3 for conspiracy

to murder the Terrace Crew members.          The court is not persuaded

by Powell’s claims.

     In addition to charging Powell with conspiracy to murder the

Terrace Crew members as a racketeering act, the indictment

alleged as racketeering acts 4-A, 4-B, and 4-C, that Powell

murdered Kevin Guiles, attempted to murder Brian Matthews, and

attempted to murder Kendall Willis.          The jury found Powell not

guilty on all three of these racketeering acts.            According to

Powell, the jury could not have reasonably found that the

government proved racketeering act 3, the conspiracy to murder

the Terrace Crew members, while also finding that the government

did not prove either the murder or attempted murder of the

Terrace Crew members.       Again, the government fails to address


                                    -7-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 8 of 16



this argument.   Nonetheless, Powell’s argument that the jury

could not have convicted him of conspiracy if it did not also

convict him of the objectives of that conspiracy is contrary to

well-settled law.

     "It has been long and consistently recognized . . . that the

commission of the substantive offense and a conspiracy to commit

it are separate and distinct offenses."       Pinkerton v. United

States, 328 U.S. 640, 643 (1946).       As such, the jury was

correctly charged to consider conspiracy and the underlying

objectives of that conspiracy as separate crimes:

           The crime of conspiracy to violate a federal
           law is an independent offense. It is separate
           and distinct from the actual violation of any
           specific federal law, which . . . the law
           refers to as substantive crimes. Indeed, you
           may find a defendant guilty of conspiracy to
           commit an offense against the United States
           even though the substantive crime which was
           the object of the conspiracy, was not actually
           committed, or it may have failed.

The jury was presented with sufficient evidence that Powell,

along with one or more of his coconspirators, Aaron Harris, Damon

Walker, and Craig Baldwin, conspired to murder the Terrace Crew

members.   That evidence demonstrated a rivalry between Powell and

his coconspirators and the Terrace Crew members that violently

escalated due to personal vendettas and drug-related turf wars.

Specifically, the government presented the testimony of multiple

witnesses, including Robert Rogers, Issac Wadsworth, Takiyah

Cato, and Sean Valentine, that detailed multiple altercations and

                                  -8-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06     Page 9 of 16



shootings between Powell’s coconspirators and the Terrace Crew

members.    One witness, in particular, Tawanna Allen, implicated

Powell by describing a conversation she had with Powell and Aaron

Dennis outside of the Pequonnock Housing Project where Brian

Matthews, a member of the Terrace Crew, stayed.3             During that

conversation, Dennis asked Allen to prop open the back entrance

to a building at the Pequonnock Housing Project to provide Dennis

admittance later that night.     Allen agreed and propped open the

door when she left the building that evening.         Later that night

Matthews was found murdered in the Pequonnock Housing Project.

Viewed in total, this evidence sufficiently supported the jury’s

finding that Powell conspired to murder the Terrace Crew members

beyond a reasonable doubt.     Therefore, the court declines to

order a new trial under Rule 33(a) on this ground.

     C.    Sufficiency of the Evidence for Obstruction of Justice

     Powell also argues that the evidence was insufficient to

support a conviction for obstruction of justice by tampering with

a witness as alleged in count nine and racketeering act 5 and

maintains that the court should enter a verdict of not guilty on

count nine and strike racketeering act 5 as a supporting

predicate for the RICO and RICO conspiracy crimes alleged in


     3
        Allen had previously testified before the grand jury that
the individual who was with Powell when the conversation occurred
was Aaron Harris, Powell’s coconspirator. At trial, however, she
stated that she erred in her testimony before the grand jury, and
that the individual with Powell was actually Aaron Dennis.

                                  -9-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 10 of 16



counts one and two.4    The allegations supporting these charges

are that Powell obstructed justice by threatening Jose Osorio

("Osorio"), a drug dealer involved with Powell, to prevent Osorio

from continuing to cooperate with law enforcement.            Again, the

government does not respond to Powell’s argument.            The court,

however, finds that Powell’s obstruction of justice charge was

sufficiently supported by the evidence and declines to order a

new trial.

     At trial, Osorio testified that he encountered Powell at the

Bridgeport Correctional Center ("BCC") in February 2000, and

Powell threatened him by saying that he would not be safe if he




     4
        Although Powell filed this motion as one for a new trial
under Fed. R. Crim. P. 33, his requests to enter a verdict of not
guilty on count nine and strike racketeering act 5 are more
appropriate for a motion of acquittal under Fed. R. Crim. P. 29.
Nonetheless, the court considers Powell’s requests with respect
to count nine and racketeering act 5 under the more lenient
standard of review for a Rule 33 motion. See Ferguson, 246 F.3d
at 134 (noting that the court has broader discretion to grant a
new trial under Rule 33 than to order an acquittal under Rule
29). If his motion for a new trial fails – as it must based on
the evidence presented at trial – then Powell’s requests for
acquittal with respect to count nine and racketeering act 5 must
also fail.

                                  -10-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 11 of 16



cooperated with the government.5      Powell does not dispute that

this incident, if it occurred, would be sufficient to support the

jury’s finding that Powell obstructed justice, as alleged.6

Instead, Powell contends that this evidence was insufficient to

support the jury’s verdict because "the evidence clearly show[s]

that Mr. Powell was not at [the BCC] at the time Mr. Orsorio

claims that this [alleged intimidation] took place."            Powell

seems to base his contention on the testimony of Officer Henry

Falcone of the Connecticut Department of Corrections ("Falcone").

Relying on information gleaned from records of the Department of

Corrections, Falcone testified that Powell was held at the BCC



     5
         Osorio testified that Powell said:
           It ain’t like no one gonna ever know [you are
           cooperating] because they got paperwork so
           they know who is talkin’, who’s not talkin[’],
           and you know – they gonna know everybody
           names, so you ain’t gonna be safe or nothin’.
           So, I don’t know why, you know, everyone
           thinkin’ they’re talkin’ they’re gonna be
           safe, like you’re gonna be private forever.
           They’re gonna eventually know.
     6
        Osorio testified that he understood Powell’s "threat" to
mean that he "would get hurt in jail or either on the streets."
This interpretation is certainly reasonable. Powell’s statement
that "it ain’t like no one gonna ever know" that Osorio was
cooperating with the government and that Osorio "ain't gonna be
safe or nothin’" or "gonna be private forever" implies a threat
of physical violence; the statement that "they gonna know
everybody names" and "[t]hey’re gonna eventually know" implies
that individuals would be willing to enforce the threat.
Osorio’s testimony thus constitutes the "competent, satisfactory
and sufficient evidence" in the record that must support a jury
verdict to withstand a motion for a new trial. See Ferguson, 246
F.3d at 134.

                                  -11-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 12 of 16



from December 5, 2000 until March 28, 2002, and that Osorio was

at the same facility from October 12, 2000 until April 16, 2001.

Falcone’s testimony conflicted with Osorio’s testimony only to

the extent that Osorio claimed that the encounter with Powell

occurred at the BCC in February 2000.       Thus, according to

Falcone, the alleged obstruction could have only occurred between

December 5, 2000 and April 16, 2001.

     But this discrepancy does not warrant a new trial.             It is

possible that the jury credited Osorio’s account, including his

testimony about the date of the encounter with Powell.            It is

just as possible that the jury believed that the encounter with

Powell occurred as Osorio testified, but that Osorio was wrong

about the date of the encounter.      At any rate, both Osorio and

Falcone testified that Powell and Osorio were held at the BCC

during the five month period beginning December 5, 2000.

Regardless of which possible scenario the jury believed, Powell’s

objection to this discrepancy in the evidence goes to the

credibility of Osorio and Falcone’s respective testimony, rather

than to the sufficiency of the evidence.        Because the court must

"defer to the jury’s resolution of conflicting evidence and

assessment of witnesses’ credibility" except in extraordinary

circumstances, See Ferguson, 246 F.3d at 133-34, the court

declines to second guess the jury’s conclusion.

     Even if the court were to credit Falcone’s testimony over


                                  -12-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 13 of 16



Osorio’s, however, a new trial would still be inappropriate

because Falcone’s testimony bolstered Osorio’s account of the

encounter with Powell.      Falcone testified that the BCC has a

recreational facility, which is where Osorio alleged the

encounter took place, and Falcone stated that given the freedom

of movement afforded prisoners, Osorio and Powell could have met

at that recreational facility.      Therefore, jurors could have

reasonably credited Osorio’s description of Powell’s efforts to

intimidate him, despite his error about the date of the

encounter.   Given the totality of the evidence on this issue, it

was reasonable for the jury to conclude beyond a reasonable doubt

that Powell intimidated Osorio during the five months that the

two prisoners were held at the BCC.

     D.   Sufficiency of Evidence of the Crack Cocaine Conspiracy

     Powell finally claims that the government failed to present

any evidence that the substance distributed as part of the

charged "East Side Conspiracy" or "Greens Homes Housing Project

Conspiracy" was crack cocaine, that is, cocaine base within the

meaning of 21 U.S.C. § 841(b)(1)(A)(iii).         Specifically, Powell

maintains that the government’s evidence was insufficient to

prove that the substance was crack cocaine because the DEA’s

forensic chemist testified that the results of the tests he

performed on the seized cocaine were consistent with cocaine in

its naturally occurring alkaloid form, and that the substance was


                                  -13-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 14 of 16



not necessarily crack cocaine.      Thus, Powell argues that the

government failed to produce any reliable, direct evidence

concerning drugs seized from the various trafficking operations.

     Powell cites no authority that requires the government to

prove a drug conspiracy by direct scientific evidence rather than

circumstantial evidence.     As the government points out, federal

law does not generally distinguish between direct and

circumstantial evidence, and permits a conviction based solely on

the latter.    See United States v. Alameh, 341 F.3d 167, 173 (2d

Cir. 2003).    Indeed, the Supreme Court has "never questioned the

sufficiency of circumstantial evidence in support of a criminal

conviction, even though proof beyond a reasonable doubt is

required."    Desert Palace, Inc. v. Costa, 539 U.S. 90, 100

(2003).   Nor has this general principle been abandoned for drug

prosecutions.    In United States v. Crisp, 563 F.2d 1242 (5th Cir.

1977), the court held that "[t]he nature of a narcotic drug . . .

may be established by circumstantial evidence, so long as the

drug’s identity is established beyond a reasonable doubt."             See

id. at 1244.    Although laboratory testing may be quite helpful to

the jury in resolving reasonable doubts the jurors may have, such

scientific procedures are not essential for the government to

prove the existence of an agreement to distribute a particular

type of narcotic.    See Desert Palace, 539 U.S. at 100.

     Even in the absence of such scientific testing on the seized


                                  -14-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 15 of 16



narcotics, the circumstantial evidence presented by the

government during Powell’s trial was so extensive that a

reasonable jury could find beyond a reasonable doubt that Powell

conspired to distribute crack cocaine.        Two experienced police

officers, William Mayer ("Mayer") and Glen Cassone ("Cassone"),

both examined drugs seized during the arrests of various members

of the drug-trafficking ring.      Mayer testified that cocaine is a

pure, white powder, while crack cocaine is a chunkier, off-white

substance, and based on his 18 years of experience, the

substances recovered were crack cocaine.        Cassone also testified

that the drugs seized were "rocky" substances consistent with

crack cocaine.   In addition, both officers conducted chemical

field tests on the substances which yielded positive results for

crack cocaine.

     The central role of crack cocaine in the drug-trafficking

operation was also demonstrated by the testimony of four

different drug dealers who described the drug and its packaging.

Jose Osorio, Oretegus Eaddy, John Glover, and Quadan Thompson

each testified that they sold pink-top vials filled with crack as

part of the drug-trafficking conspiracy.        In sum, the testimony

of these six witnesses, including two experienced police officers

who conducted field chemical tests, is more than sufficient to

prove beyond a reasonable doubt that Powell conspired to

distribute crack cocaine, and thus there is no basis for the


                                  -15-
   Case 3:99-cr-00264-VAB   Document 2087   Filed 09/07/06   Page 16 of 16



court to overturn the jury’s verdict on counts three and four.



                               CONCLUSION

     For the foregoing reasons, the court denies Powell’s motion

for a new trial [dkt. # 1872].



                            _____________________________
                                  Alan H. Nevas
                            United States District Judge




                                  -16-
